Case 3:17-cv-00072-NKM-JCH Document 273 Filed 03/14/18 Page 1 of 24 Pageid#: 1912




                            81,7('67$7(6',675,&7&2857
                       )257+(:(67(51',675,&72)9,5*,1,$
                                    &KDUORWWHVYLOOH'LYLVLRQ
                                                




                                               
      (/,=$%(7+6,1(66(7+:,63(/:(<                                 
      0$5,66$%/$,57</(50$*,//$35,/
      081,=+$11$+3($5&(0$5&86
      0$57,11$7$/,(520(52&+(/6($
      $/9$5$'2DQG-2+1'2(
      
                               3ODLQWLIIV                             
      Y                                                               
                                                                       
      -$621.(66/(55,&+$5'63(1&(5
      &+5,6723+(5&$17:(//-$0(6                                      
      $/(;),(/'6-59$1*8$5'
      $0(5,&$$1'5(:$1*/,1                       &LYLO$FWLRQ1RFY1.0
      0221%$6(+2/',1*6//&52%(57
      ³$==0$'25´5$<1$7+$1'$0,*2                                   
      (//,27./,1(DND(/,026/(<
      ,'(17,7<(9523$0$77+(:                           -85<75,$/'(0$1'('
      +(,0%$&+0$77+(:3$55277DND
      '$9,'0$77+(:3$55277                                           
      75$',7,21$/,67:25.(53$57<
      0,&+$(/+,//0,&+$(/78%%6
      /($*8(2)7+(6287+-())6&+2(3
      1$7,21$/62&,$/,67029(0(17
      1$7,21$/,67)5217$8*8678662/
      ,19,&786)5$7(51$/25'(52)7+(
      $/7.1,*+760,&+$(/³(12&+´
      3(,129,&+/2<$/:+,7(.1,*+762)
      7+(.8./8;./$1DQG($67&2$67
      .1,*+762)7+(.8./8;./$1DND
      ($67&2$67.1,*+762)7+(758(
      ,19,6,%/((03,5(
      
                               'HIHQGDQWV                             
  
  
  
            3/$,17,))6¶0(025$1'80,123326,7,2172'()(1'$17
      0,&+$(/3(,129,&+¶6027,21725(675$,152%(57$.$3/$1(64$1'
        .$3/$1 &203$1<//3)520)857+(5,03523(5$1'81(7+,&$/
               (;75$-8',&,$/67$7(0(176$1')256$1&7,216
  
  
Case 3:17-cv-00072-NKM-JCH Document 273 Filed 03/14/18 Page 2 of 24 Pageid#: 1913




                                       35(/,0,1$5<67$7(0(17

             'HIHQGDQWV SODQQHG VXSHUYLVHG DQG H[HFXWHG D EUXWDO FDPSDLJQ RI UDFLDO WHUURU LQ

  &KDUORWWHVYLOOH9LUJLQLD7KHLUFRQGXFWUHFHLYHGH[WHQVLYHFRYHUDJHIURPWKHORFDODQGQDWLRQDO

  SUHVV7KHUHLVVWURQJSXEOLFDQGMRXUQDOLVWLFLQWHUHVWLQWKLVFDVHZKLFKVHHNVWRKROG'HIHQGDQWV

  UHVSRQVLEOH IRU WKHLU LOOHJDO LQMXULRXV DFWV $FFRUGLQJO\ DV ODZ\HUV RIWHQ GR LQ FLYLO PDWWHUV

  5REHUWD.DSODQKDVGLVFXVVHGWKHFDVHLQYDULRXVSXEOLFVHWWLQJV7KURXJKVSHHFKHVLQWHUYLHZV

  DQGVRFLDOPHGLDSRVWVVKHKDVH[SODLQHGWKHIDFWXDOEDFNJURXQGOHJDOWKHRU\UHOLHIVRXJKWDQG

  EURDGHUFRQWH[WRIWKHOLWLJDWLRQ6KHKDVDOVRUHYHDOHGDVPDOOIUDFWLRQRIWKHGHDWKWKUHDWVDQG

  ELJRWHGDWWDFNVWKDWVKHKDVHQGXUHGVLQFHWKLVFDVHZDVILOHGLQ2FWREHU+HUVWDWHPHQWVKDYH

  DOO EHHQ FRQVLVWHQW ZLWK QRUPV RI DWWRUQH\ VSHHFK²DQG ZLWK 0V .DSODQ¶V GXW\ RI ]HDORXV

  DGYRFDF\RQEHKDOIRIWKHPHQDQGZRPHQVKHUHSUHVHQWVSee0RGHO5XOHVRI3URI¶O&RQGXFWU

  FPW $P%DU$VV¶Q  ³$ODZ\HUPXVWDOVRDFWZLWKFRPPLWPHQWDQGGHGLFDWLRQWRWKH

  LQWHUHVWVRIWKHFOLHQWDQGZLWK]HDOLQDGYRFDF\XSRQWKHFOLHQW¶VEHKDOI´ 

             &LWLQJ D JUDEEDJ RI LUUHOHYDQW DQG LQDSSOLFDEOH UXOHV 0U 3HLQRYLFK GHPDQGV WKDW WKH

  &RXUWVDQFWLRQ0V.DSODQIRUVRPHRIKHUSXEOLFUHPDUNV6SHFLILFDOO\KHXUJHVWKDWWKHFDVHEH

  GLVPLVVHGRUWKDW0V.DSODQEHVXEMHFWHGWRDVZHHSLQJJDJRUGHU%XWHYHU\VLQJOHSUHPLVHRI

  KLVUHTXHVWLVHUURQHRXV&RXQVHOWR3ODLQWLIIVFDUHGHHSO\DERXWWKHLUHWKLFDOREOLJDWLRQVDQGKDYH

  FRPSOLHGIXOO\ZLWKWKHUXOHVRISURIHVVLRQDOFRQGXFW1RQHRI0V.DSODQ¶VSXEOLFVWDWHPHQWV

  YLRODWHGDQ\SRWHQWLDOO\DSSOLFDEOHUHVWULFWLRQRQDWWRUQH\VSHHFKLQFLYLOFDVHVSee9D5XOHVRI

  3URI¶O&RQGXFWU 9D6WDWH%DU$VV¶Q  GHFOLQLQJWRLPSRVHOLPLWVRQSXEOLFVWDWHPHQWV

  E\ FRXQVHO LQ FLYLO PDWWHUV  1< 5XOHV RI 3URI¶O &RQGXFW U  1< 6WDWH %DU $VV¶Q  

      SURKLELWLQJ RQO\ VWDWHPHQWV WKDW ³KDYH D VXEVWDQWLDO OLNHOLKRRG RI PDWHULDOO\ SUHMXGLFLQJ DQ

  DGMXGLFDWLYH SURFHHGLQJ´  7KDW FRQFOXVLRQ LV RQO\ FRQILUPHG E\ UHOHYDQW )LUVW $PHQGPHQW




                                                        
Case 3:17-cv-00072-NKM-JCH Document 273 Filed 03/14/18 Page 3 of 24 Pageid#: 1914




  SUHFHGHQWSee, e.g.Hirschkop Y Snead)G WK&LU  HQEDQF )XUWKHU0V

  .DSODQKDVQHYHUFODLPHGLPSURSHULQIOXHQFHRYHUWKH&RXUWRUVRPHKRZWUDQVIRUPHGKHUVHOILQWR

  DIDFWZLWQHVVSee 9D5XOHVRI3URI¶O&RQGXFWUV G 1<5XOHVRI3URI¶O&RQGXFWUV

   H 

          ,QDUJXLQJRWKHUZLVH0U3HLQRYLFKPLVVWDWHVWKHODZDQGDGYDQFHVEL]DUUHLQWHUSUHWDWLRQV

  RI 0V .DSODQ¶V VWDWHPHQWV +H DOVR HQJDJHV LQ MDZGURSSLQJ K\SRFULV\ +H DQG WKH RWKHU

  'HIHQGDQWVXVHGVRFLDOPHGLDWRSODQGLUHFWDQGSHUSHWUDWHDVHULHVRIKRUULILFDWWDFNVRQUDFLDO

  DQGUHOLJLRXVPLQRULWLHV7RWKLVGD\QXPHURXV'HIHQGDQWV DQGWKHLUIROORZHUV FRQWLQXHXVLQJ

  VRFLDOPHGLDWRWKUHDWHQDQGGHQLJUDWH0V.DSODQKHUFROOHDJXHVDQGDJURXSWKDWVXSSRUWVWKLV

  ODZVXLW$VVHWIRUWKEHORZWKHVHSXEOLFVWDWHPHQWVDERXW0V.DSODQDUHULIHZLWKUHOLJLRXVVH[LVW

  DQG KRPRSKRELF VOXUV²DQG ZLWK RFFDVLRQDO WKUHDWV RI PRUWDO SHULO ,QGHHG VRPH RI WKHVH

  RIIHQVLYHDQGGHURJDWRU\VWDWHPHQWVKDYHEHHQPDGHE\0U3HLQRYLFKKLPVHOI2QO\LQDZRUOG

  JRQHWRSV\WXUY\ZRXOGWKH)LUVW$PHQGPHQWSURWHFWSHRSOHZKRSORWDQGSHUSHWUDWHDFWVRIUDFLDO

  YLROHQFHZKLOHRIIHULQJQRVKHOWHUWRSHDFHIXODWWRUQH\VSHHFKDERXWFODLPVLQFLYLOOLWLJDWLRQ

          7KLVPRWLRQWKXVFRQVWLWXWHV\HWDQRWKHUHIIRUWE\0U3HLQRYLFKWRGLVWUDFWIURPZKDWUHDOO\

  PDWWHUVKHUHKLVLOOHJDOFRQGXFW%XWWU\DVKHPLJKWWKHUHLVQREDVLVIRU0U3HLQRYLFKWRLPSXJQ

  FRXQVHO¶VPRWLYHVWRUHVWULFWVSHHFK DVRSSRVHGWRFRQGXFW RUWRSDLQWKLPVHOIDVVRPHNLQGRI

  YLFWLP+HEURNHWKHODZDQGVKRXOGEHKHOGDFFRXQWDEOH,QWKHLQWHULPKLVIULYRORXVPRWLRQIRU

  VDQFWLRQVVKRXOGEHUHMHFWHG

          




                                                   
Case 3:17-cv-00072-NKM-JCH Document 273 Filed 03/14/18 Page 4 of 24 Pageid#: 1915




                                                      %$&.*5281'

             2Q$XJXVWDQG0U3HLQRYLFKSDUWLFLSDWHGLQDFDPSDLJQRIUDFLDOYLROHQFH

  DQGLQWLPLGDWLRQLQ&KDUORWWHVYLOOHWKDWKHDQGWKHRWKHU'HIHQGDQWVKDGFDUHIXOO\SODQQHGRYHUWKH

  SUHFHGLQJILYHPRQWKVSee, e.g.)$&3DUWLFLSDQWVLQWKLVFDPSDLJQSULPDULO\

  WDUJHWHGEODFNVDQG-HZV DQGWKHLUVXSSRUWHUV See, e.g. id.DW

  ,Q DGGLWLRQ WR LQIOLFWLQJ WHUULEOH KDUP RQ 3ODLQWLIIV WKH\ FDXVHG ZLGHVSUHDG GDPDJH DQG

  GHVWUXFWLRQSee id.DW

             'HIHQGDQWV¶YLROHQWFRQGXFWLQ&KDUORWWHVYLOOH²DQGWKHDYRZHGO\DQWL6HPLWLFDQGUDFLVW

  REMHFWLYHVRIWKDWYLROHQWFRQGXFW²UHFHLYHGH[WHQVLYHFRYHUDJHIURPWKHORFDODQGQDWLRQDOSUHVV

  0DQ\DUWLFOHVH[SOLFLWO\OLQNHGWKHHYHQWVRI&KDUORWWHVYLOOHWRDGLVWXUELQJLQFUHDVHLQYLROHQFH



  
  
         7KHEDFNJURXQGVHFWLRQRI0U3HLQRYLFK¶VPRWLRQLVKLJKO\DGYHQWXURXV+HDVVDLOV0V.DSODQ¶V
  FUHGLELOLW\ DGGUHVVHV D YDULHW\ RI LVVXHV UHODWHG WR KLV SHQGLQJ PRWLRQ WRGLVPLVV FRQWHQGV WKDW FHUWDLQ
  3ODLQWLIIVVKRXOGQRWEHDOORZHGWRSURFHHGDQRQ\PRXVO\OLWLJDWHVDQRQH[LVWHQWDQWL6/$33PRWLRQDQG
  LQVLVWV ZLWKRXWHODERUDWLRQ WKDW0V.DSODQLVSURKLELWHGIURPFULWLFL]LQJZKLWHVXSUHPDFLVWVDWDQ\HYHQW
  ZKHUH VKH DOVR GLVFXVVHV WKLV OLWLJDWLRQ %HFDXVH WKHVH DVVHUWLRQV DUH SODLQO\ LQFRUUHFW LPSURSHU DQG
  LUUHOHYDQWZHGRQRWDGGUHVVWKHPLQWKLVUHVSRQVH
  
         See, e.gViolence Erupts at Unite the Right Rally in Charlottesville, Police Respond1%& $XJ
                  KWWSZZZQEFFRPVWRU\YLROHQFHHUXSWVDWXQLWHWKHULJKWUDOO\LQ
  FKDUORWWHVYLOOH Unite the Right rally turns violent, three die &9,//( $XJ    KWWSZZZF
  YLOOHFRPXQLWHWKHULJKW:TP(SFKF[Charlottesville protest takes a deadly turn52$12.( 7,0(6
   $XJ     KWWSZZZURDQRNHFRPWRZQQHZVSROLWLFVFKDUORWWHVYLOOHSURWHVWWDNHVDGHDGO\
  WXUQDUWLFOHBFDIGHHDHKWPO 'DUD /LQG Nazi slogans and violence at a
  right-wing      march      in    Charlottesville    on    Friday     night 92;        $XJ   
  KWWSVZZZYR[FRPFKDUORWWHVYLOOHUDOO\EUDZOQD]L 6KHU\O*D\6WROEHUJDQG%ULDQ
  05RVHQWKDOMan Charged After White Nationalist Rally in Charlottesville Ends in Deadly Violence1<
  7,0(6 $XJ    KWWSVZZZQ\WLPHVFRPXVFKDUORWWHVYLOOHSURWHVWZKLWH
  QDWLRQDOLVWKWPO'RXJODV%HONLQ%HQ.HVOLQJDQG&DPHURQ0F:KLUWHUOne Dead as White Nationalists,
  Protesters     Clash      in    Charlottesville :$// 675((7 -2851$/                 $XJ   
  KWWSVZZZZVMFRPDUWLFOHVKXQGUHGVIDFHRIIDKHDGRIZKLWHQDWLRQDOLVWUDOO\LQYLUJLQLD
  5LFKDUG )DXVVHW DQG $ODQ )HXHU Far-Right Groups Surge Into National View in Charlottesville 1<
  7,0(6 $XJ    KWWSVZZZQ\WLPHVFRPXVIDUULJKWJURXSVEOD]HLQWRQDWLRQDO
  YLHZLQ
  FKDUORWWHVYLOOHKWPO"DFWLRQ FOLFN FRQWHQW&ROOHFWLRQ 86 PRGXOH 5HODWHG&RYHUDJH UHJLRQ (QG2I$UW
  LFOH SJW\SH DUWLFOH
  

                                                            
Case 3:17-cv-00072-NKM-JCH Document 273 Filed 03/14/18 Page 5 of 24 Pageid#: 1916




  DQGWKUHDWVDJDLQVW-HZVEODFNVDQGRWKHUPLQRULWLHVLQWKH8QLWHG6WDWHV1DWLRQDOLQWHUHVWLQWKH

  HYHQWVRI$XJXVWDQGUHPDLQHGKLJKWKURXJKRXW6HSWHPEHUDQG2FWREHU$VDUHVXOW

  WKHILOLQJRIWKLVODZVXLWRQ2FWREHUJHQHUDWHGVLJQLILFDQWFRYHUDJHDQGFRPPHQWDU\



  
  
          See, e.g. White supremacy: Are US right-wing groups on the rise? %%& $XJ   
  KWWSZZZEEFFRPQHZVZRUOGXVFDQDGD -HODQL &REE The Battle of Charlottesville 1(:
  <25.(5 $XJ KWWSVZZZQHZ\RUNHUFRPQHZVGDLO\FRPPHQWWKHEDWWOHRIFKDUORWWHVYLOOH
  .HYLQ & 3HWHUVRQ Charlottesville And The Revival Of Racism :%85 $XJ   
  KWWSZZZZEXURUJFRJQRVFHQWLFKDUORWWHVYLOOHDQGWKHUHYLYDORIUDFLVP 1LDOO 0F&DUWK\
  America’s       active    hate   groups      are     on    the    rise :&32         $XJ   
  KWWSVZZZZFSRFRPQHZVQDWLRQDOWKHVHDUHDPHULFDVDFWLYHKDWHJURXSVRQWKHULVH3HUU\%DYRQ-U
  Charlottesville And The Rise Of White Identity Politics ),9(7+,57<(,*+7 $XJ   
  KWWSVILYHWKLUW\HLJKWFRPIHDWXUHVFKDUORWWHVYLOOHDQGWKHULVHRIZKLWHLGHQWLW\SROLWLFV 5\DQ 6WUX\N
  By the numbers: 7 charts that explain hate groups in the United States &11 $XJ   
  KWWSVZZZFQQFRPSROLWLFVFKDUWVH[SODLQXVKDWHJURXSVLQGH[KWPO $QGUHZ 2¶5HLOO\
  Hate crimes in US on the rise)2;1(:6 $XJ KWWSZZZIR[QHZVFRPXVKDWH
  FULPHVLQXVRQULVHKWPO
  
         See, e.g. (OLRWW & 0F/DXJKOLQ What August showed us about America &11 6HSW   
  KWWSVZZZFQQFRPXVDXJXVWFKDUORWWHVYLOOHHFOLSVHKDUYH\LQGH[KWPO (YHO\Q +RFNVWHLQ
  DQG 0DUN 0LOOHU One photographer’s extraordinary images from the Charlottesville clashes
  :$6+,1*7213267 6HSW KWWSVZZZZDVKLQJWRQSRVWFRPQHZVLQVLJKWZSRQH
  SKRWRJUDSKHUVH[WUDRUGLQDU\LPDJHVIURPWKHFKDUORWWHVYLOOHFODVKHV"XWPBWHUP GEEG &ROOLHU
  0H\HUVRQ Have the White Supremacists Left Charlottesville? 7+( 1$7,21 6HSW   
  KWWSVZZZWKHQDWLRQFRPDUWLFOHKDYHZKLWHVXSUHPDFLVWVOHIWFKDUORWWHVYLOOH 7UHYRU +XJKHV Far
  right’s Richard Spencer returns to Charlottesville, tiki torch in hand 86$ 72'$< 2FW   
  KWWSVZZZXVDWRGD\FRPVWRU\QHZVQDWLRQZKLWHQDWLRQDOLVWVFKDUORWWHVYLOOH
  DJDLQ6SHQFHU6+VXCharlottesville white supremacist rally in August drew attendees from
  35 states, study finds:$6+,1*721 3267 2FW KWWSVZZZZDVKLQJWRQSRVWFRPORFDOSXEOLF
  VDIHW\VWXG\FKDUORWWHVYLOOHZKLWHVXSUHPDFLVWUDOO\LQDXJXVWGUHZDWWHQGHHVIURP
  VWDWHVIHHDFHDDEEEBVWRU\KWPO"XWPBWHUP IG $&
  7KRPSVRQ$OL:LQVWRQDQG'DUZLQ%RQG*UDKDPRacist, Violent, Unpunished: A White Hate Group’s
  Campaign of Menace35238%/,&$ 2FW KWWSVZZZSURSXEOLFDRUJDUWLFOHZKLWHKDWHJURXS
  FDPSDLJQRIPHQDFHULVHDERYHPRYHPHQW
  
         See, e.g.3HWH'H/XFDVictims of August 11 and 12 Violence File Federal Lawsuit1%& 2FW
   KWWSZZZQEFFRPVWRU\YLFWLPVRIDXJDQGYLROHQFHILOHIHGHUDO
  ODZVXLW-HQQLIHU6FKQHLGHULawsuit filed against Charlottesville protesters&11 2FW 
  KWWSVZZZFQQFRPSROLWLFVFKDUORWWHVYLOOHODZVXLWLQGH[KWPOCharlottesville rally leaders
  under legal fire as residents aim to stop future violence&+,&$*275,%81( 2FW 
  KWWSZZZFKLFDJRWULEXQHFRPQHZVQDWLRQZRUOGFWFKDUORWWHVYLOOHUDOO\OHDGHUVOHJDO
  VWRU\KWPO-RH+HLPDQG$QQ(0DULPRZCharlottesville lawsuit seeks restrictions on white nationalist
  groups:$6+,1*7213267 2FW KWWSVZZZZDVKLQJWRQSRVWFRPORFDOFKDUORWWHVYLOOH
  ODZVXLWVHHNVUHVWULFWLRQVRQZKLWHQDWLRQDOLVWJURXSVEEIDHHEH
  IDEEIHIIEBVWRU\KWPO"XWPBWHUP EDDHIDG
  


                                                      
Case 3:17-cv-00072-NKM-JCH Document 273 Filed 03/14/18 Page 6 of 24 Pageid#: 1917




          5HVSRQGLQJ WR LQTXLULHV 0V .DSODQ KDV PDGH SXEOLF VWDWHPHQWVH[SODLQLQJ WKH IDFWXDO

  EDFNJURXQGOHJDOWKHRULHVDQGUHOLHIVRXJKWLQWKLVOLWLJDWLRQDQGKDVDOVRDGGUHVVHGWKHEURDGHU

  FRQWH[WRIWKLVFDVH0U3HLQRYLFKUHIHUHQFHVPDQ\RIWKHVHVWDWHPHQWVLQKLVPRWLRQWKRXJKWKH

  DFFRPSDQ\LQJHGLWRULDOJORVVLVPRUHIDQFLIXOWKDQIDFWXDO,QWUXWK0V.DSODQ¶VVWDWHPHQWVDUH

  VWDQGDUG IDUH IRU OLWLJDWRUV LQ KLJKSURILOH FLYLO OLWLJDWLRQ +HUH LV D VXPPDU\ RI WKH UHPDUNV

  LGHQWLILHGE\0U3HLQRYLFK

          6SHHFKHV
  
          x ³/HVELDQV:KR7HFK´2Q0DUFK0V.DSODQDWWHQGHGDFRQIHUHQFHLQ6DQ
             )UDQFLVFRWKDWEURXJKWWRJHWKHURYHUTXHHUZRPHQDQGDOOLHVZKRVSHFLDOL]HLQ
             WHFKQRORJ\7KHUHVKHGHOLYHUHGDWDONDGGUHVVLQJWKHHYHQWVLQ&KDUORWWHVYLOOHDQGWKH
             OHJDOWKHRU\XQGHUO\LQJWKHFDVH,QDGGLWLRQ0V.DSODQVHSDUDWHO\ FULWLFL]HGRWKHU
             HIIRUWVE\0U3HLQRYLFKDQG0U6SHQFHUWRDGYRFDWHZKLWHVXSUHPDF\
             
          x 0$.(56&RQIHUHQFH2Q)HEUXDU\SURPLQHQWZRPHQIURPPDQ\GLIIHUHQW
             ILHOGVJDWKHUHGLQ/RV$QJHOHVWRDGGUHVVWKHVWDWHRIWKHZRPHQ¶VPRYHPHQW$WWKDW
             HYHQW0V.DSODQGHVFULEHGZKDWKDSSHQHGLQ&KDUORWWHVYLOOHRQ$XJXVWDQG
             DQGH[SODLQHGWKHOHJDOWKHRU\XQGHUO\LQJWKLVFDVH6KHZDVMRLQHGE\3ODLQWLII
             0DULVVD%ODLUZKRRIIHUHGDILUVWSHUVRQDFFRXQWRIWKHYLROHQFHVKHZLWQHVVHGDQGWKH
             LQMXU\VKHDQGKHUILDQFpVXIIHUHG
  
          ,QWHUYLHZV
  
          x $V 0U 3HLQRYLFK QRWHV 0V .DSODQ KDV EHHQ LQWHUYLHZHG E\ PDQ\ QDWLRQDO QHZV
             SXEOLFDWLRQV²LQFOXGLQJNewsyTheNew York TimesDQGVox,QWKRVHLQWHUYLHZVVKH
             KDV GLVFXVVHG WKH IDFWXDO EDFNJURXQG OHJDO WKHRULHV DQG UHOLHI UHTXHVWHG LQ WKLV
             OLWLJDWLRQ6KHKDVDOVRGHVFULEHGSHUVRQDOH[SHULHQFHVZLWKDQWL6HPLWLVPQRWLQJWKDW
             VKHZDVGHHSO\WURXEOHGE\WKHDQWL-HZLVKDWWDFNVLQ&KDUORWWHVYLOOH
             
          7ZHHWV
  
          x )URP)HEUXDU\WR)HEUXDU\0V.DSODQLVVXHGDVHULHVRIWZHHWVLQZKLFK
             VKH VKDUHG QDWLRQDO QHZVSDSHU DUWLFOHV UHSRUWLQJ RQ WKLV OLWLJDWLRQ SUDLVHG KHU FR
             FRXQVHO .DUHQ'XQQ VWDWHGWKDWVKHLVSURXGWRUHSUHVHQW3ODLQWLIIVLQWKLVFDVHDQG
             XUJHGUHDGHUVWRUHYLHZDNew York TimesDUWLFOHDERXWWKHSHQGLQJPRWLRQWRGLVPLVV
             
                 o ,Q IRXU RI WKHVH WZHHWV VKH DOVR GHVFULEHG WKH JRDOV RI WKLV OLWLJDWLRQ WR
                     ³HVWDEOLVKWKDWWKLVLVQRWDFFHSWDEOH´ )HEUXDU\DQG WR³PDNHLWFOHDU
                     WKDWKDWHLQFLWHGDQGSODQQHGYLROHQFHLVQRWDFFHSWDEOH´ )HEUXDU\ DQGWR
                     ³PDNHLWFOHDUWKDWWKLVFDQQHYHUKDSSHQDJDLQ´ )HEUXDU\ 


                                                      
Case 3:17-cv-00072-NKM-JCH Document 273 Filed 03/14/18 Page 7 of 24 Pageid#: 1918




                         
              x 2Q)HEUXDU\0V.DSODQLVVXHGDWZHHWXUJLQJKHU7ZLWWHUIROORZHUVWR³UHDG
                 RXU EULHI RSSRVLQJ PRWLRQV WR GLVPLVV UH &KDUORWWHVYLOOH´ DGGLQJ WKDW 3ODLQWLIIV¶
                 FODLPV DUH VWURQJ DQG WKDW ³WKH YLROHQFH LQMXULHV DQG GHDWKV WKDW RFFXUUHG ZHUH QR
                 DFFLGHQW´
                 
              x 2Q)HEUXDU\DQG)HEUXDU\²WKH-HZLVKKROLGD\RI3XULP²0V.DSODQ
                 LVVXHG ILYH UHOHYDQW WZHHWV ,Q WKUHH RI WKHP VKH UHWZHHWHG DUWLFOHV GHVFULELQJ
                 LQFUHDVHGDQWL6HPLWLFYLROHQFHLQ$PHULFD1RWLQJWKDWLWZDV3XULPVKHXUJHGKHU
                 7ZLWWHUIROORZHUVWRVXSSRUWWKLVFDVHDJDLQVW³PRGHUQGD\+DPDQV´,QWKHRWKHUWZR
                 WZHHWV 0V .DSODQ UHWZHHWHG JKDVWO\ DQG ELJRWHG WKUHDWV GLUHFWHG DW KHU IURP WKH
                 ³$PHULFDQ,GHQWLWDULDQ3DUW\´7KHVHWKUHDWVH[SOLFLWO\FRQFHUQHGKHUUHSUHVHQWDWLRQRI
                 3ODLQWLIIV0V.DSODQFRPPHQWHGRQWKHWKUHDWVQRWLQJWKDWWKH\UHIOHFWWKHGDQJHU
                 SRVHGE\DQLQFUHDVHLQDQWL6HPLWLVPDQGXUJLQJKHU7ZLWWHUIROORZHUVWRVXSSRUWD
                 JURXSIXQGLQJWKLVFDVH
  
  ,QVXP0V.DSODQKDVVSRNHQDERXWWKLVFDVHLQDGLYHUVHDUUD\RIVHWWLQJVDFURVVWKHQDWLRQ6KH

  KDV VRXJKW WR SURPRWH SXEOLF DZDUHQHVV RI WKH OLWLJDWLRQ H[SODLQ 3ODLQWLIIV¶ OHJDO WKHRULHVDQG

  ZDUQDJDLQVWWKHWKUHDWSRVHGE\DQLQFUHDVHLQYLROHQWZKLWHVXSUHPDFLVP

              2QHUHDVRQZK\0V.DSODQKDVEHHQPRWLYDWHGWRVSHDNRXWLVWKDWVKHKDVUHFHLYHGD

  VWHDG\EDUUDJHRIWKUHDWVDQGKDWHIXOPHVVDJHVVLQFHILOLQJWKLVODZVXLW)RUH[DPSOH'HIHQGDQW

  .HVVOHUKDVSRVWHGWZHHWVLQZKLFKKHGHVFULEHV0V.DSODQDV³SLWLIXO´DQG³KDWHILOOHG´ZDUQV

  WKDWVKH³IXFNHGZLWKWKHZURQJRQH´DQGRSLQHVWKDWKHU³-HZLVK´LGHQWLW\VXJJHVWV³WKDWVKH¶V

  HIIHFWLYHO\PDQLSXODWLQJWKHMXGLFLDU\LQWRDOHJDOKDWHFULPHDJDLQVWZKLWHSHRSOH´




  
  
       3XULP FHOHEUDWHV WKH VDOYDWLRQ RI 3HUVLDQ -HZV IURP D SORW E\ +DPDQ²D UR\DO DGYLVRU²WR
  H[WHUPLQDWHWKHPDOO


                                                         
Case 3:17-cv-00072-NKM-JCH Document 273 Filed 03/14/18 Page 8 of 24 Pageid#: 1919




                                                                               




                                                                           

  

  'HIHQGDQW&DQWZHOOLQWXUQKDVUHWZHHWHGDSRVWWKDWRIIHUVDGHVSLFDEOHDQWL6HPLWLFFDULFDWXUH

  RI0V.DSODQDQGGHQRXQFHVHIIRUWVE\D³OHVELDQ-HZ´WRHQIRUFHWKH.X.OX[.ODQ$FW




                                                  
Case 3:17-cv-00072-NKM-JCH Document 273 Filed 03/14/18 Page 9 of 24 Pageid#: 1920




                                                                              

  'HIHQGDQW$]]PDGRUKDVDOVRUHSRVWHGWZHHWVDWWDFNLQJ0V.DSODQEHFDXVHVKHLV-HZLVK




                                                                                     

  'HIHQGDQWV¶IROORZHUVKDYHHFKRHGWKHVHKDWHIXOPHVVDJHV²LQVRPHFDVHVDGGLQJGHDWKWKUHDWV

  DQGWDUJHWLQJ,QWHJULW\)LUVWIRU$PHULFD DQRUJDQL]DWLRQWKDWKHOSVWRVXSSRUWWKLVFDVH 


                                                  
Case 3:17-cv-00072-NKM-JCH Document 273 Filed 03/14/18 Page 10 of 24 Pageid#: 1921




                                                                 




                                                                 




                                       
Case 3:17-cv-00072-NKM-JCH Document 273 Filed 03/14/18 Page 11 of 24 Pageid#: 1922




                                                                                       

   7KHVHSRVWVDUHRQO\WKHWLSRIWKHLFHEHUJ0V.DSODQDQGKHUFROOHDJXHVKDYHUHFHLYHGGR]HQV

   RIYLWULROLFDQGWKUHDWHQLQJPHVVDJHVRQVRFLDOPHGLDIURP'HIHQGDQWVDQGWKHLUIROORZHUV

              ,QDGGLWLRQVHYHUDO'HIHQGDQWVKDYHVSRNHQSXEOLFO\DERXWWKLVFDVHLQRWKHUIRUDSee, e.g.

   -DVRQ.HVVOHUExposing the Wealth & Power Behind Unite the Right Lawsuits-$621.(66/(586

       )HE    KWWSVMDVRQNHVVOHUXVSRZHUPRQH\XQLWHWKHULJKWODZVXLWV

       ³>3ODLQWLII@6LQHVZHDUVKHUFULQJLQJO\VHOIULJKWHRXVOLEHUDOSODWLWXGHVOLNHDEDGJHRIKRQRU´ 



   
   
        #1DWLRQDOLVW3UHSSHUIROORZV'HIHQGDQWV.HVVOHUDQG&DQWZHOO#B/RQJ'LYLVLRQBIROORZV
   'HIHQGDQW6SHQFHU#WLQ\BVKLHOGB1&IROORZV'HIHQGDQWV.HVVOHU'DPLJR,QYLFWXV,GHQWLW\(YURSD
   3HLQRYLFKDQG6SHQFHU


                                                      
Case 3:17-cv-00072-NKM-JCH Document 273 Filed 03/14/18 Page 12 of 24 Pageid#: 1923




   see also id. VWDWLQJWKDWWKLVFDVHLVEHLQJIXQGHGE\³DXVXDODVVRUWPHQWRIHOLWH$PHULFDKDWLQJ

   %ROVKHYLNV´ 7KDWLQFOXGHV0U3HLQRYLFKZKRKDVEHHQDQ\WKLQJEXWEDVKIXOLQSXEOLFO\VKDULQJ

   KLVDVVHVVPHQWVRI0V.DSODQ3ODLQWLIIVDQGWKLVODZVXLWSee, e.g.$QG\ZDUVNLHalsey Vs. Mike

   Enoch<2878%( )HE KWWSVZZZ\RXWXEHFRPZDWFK"Y U](YIL/84 GHVFULELQJ

   0V.DSODQDVD³YHU\ZHDOWK\DQGSRZHUIXO-HZLVKOHVELDQ´  0LFKDHO3HLQRYLFKTDS257:

   Give Us Us EBT'$,/<6+2$+ )HE KWWSVWKHULJKWVWXIIEL]WGVJLYH

   XVXVHEW GHVFULELQJWKLVODZVXLWDV³DQRWKHUWKLQJWKDWWKHVH-HZVGR´  ZKLOH³SXUVXLQJ

   D-HZLVKHWKQLFDJHQGDDJDLQVWZKLWHSHRSOH´  7KXVLQVSHDNLQJDERXWWKHFDVH0V

   .DSODQKDVQRWRQO\RIIHUHGSURSHUUHVSRQVHVWRSXEOLFLQTXLULHVEXWKDVDOVRVKDUHGWKHWKUHDWV

   DQGKDWHPDLOWKDWVKHKDVUHFHLYHGVLQFHILOLQJLW

          1RWDEO\0V.DSODQKDVQRWWDUJHWHGWKH:HVWHUQ'LVWULFWRI9LUJLQLDRULWVHQYLURQVLQKHU

   SXEOLF UHPDUNV $V 0U 3HLQRYLFK QRWHV VKH JDYH VHYHUDO VWDWHPHQWV WR QDWLRQDO QHZV PHGLD

   RXWOHWV LVVXHG D VHULHV RI VWDWHPHQWV WR KHU JHRJUDSKLFDOO\GLVSHUVHG 7ZLWWHU IROORZHUV DQG

   GHOLYHUHG WDONV LQ /RV $QJHOHV DQG 6DQ )UDQFLVFR :KLOH LW LV WKHRUHWLFDOO\ SRVVLEOH WKDW VRPH

   UHVLGHQWVRIWKH:HVWHUQ'LVWULFWRI9LUJLQLDKDYHHQFRXQWHUHGVWDWHPHQWVWKHUHLVQREDVLVIRU0U

   3HLQRYLFK¶V VSHFXODWLRQ WKDW 0V .DSODQ KDV SUHMXGLFHG WKH MXU\ SRRO ,QGHHG 0U 3HLQRYLFK

   UHSHDWHGO\GHVFULEHV0V.DSODQ¶VVWDWHPHQWVDVUHDFKLQJ³DOODFURVVWKHFRXQWU\DQGWKHZRUOG´

   EXW GRHV QRW DQG FDQQRW  VKRZ WKDW KHU VWDWHPHQWV KDYH WDUJHWHG VDWXUDWHG RU LQIOXHQFHG WKH

   :HVWHUQ'LVWULFWRI9LUJLQLDLQDPDQQHUWKDWFRPSURPLVHVKLVULJKWWRDIDLUWULDO %U 

                                                $5*80(17

           0U3HLQRYLFKDVNVWKLV&RXUWIRUWZRH[WUHPHVDQFWLRQVGLVPLVVDODQGDVZHHSLQJJDJ

   RUGHU7KHVHUHPHGLHVZRXOGEHMXVWLILHGRQO\LQUHVSRQVHWRWKHPRVWH[WUDRUGLQDU\PLVFRQGXFW




                                                      
Case 3:17-cv-00072-NKM-JCH Document 273 Filed 03/14/18 Page 13 of 24 Pageid#: 1924




   %XWKHUHWKHUHLVQRPLVFRQGXFWDWDOO0V.DSODQKDVFRPSOLHGZLWKKHUREOLJDWLRQVXQGHUWKH

   UXOHVRISURIHVVLRQDOFRQGXFW

           ,     06.$3/$1,6,1)8//&203/,$1&(:,7+$33/,&$%/(58/(6

                   $ ([WUDMXGLFLDO6WDWHPHQWV1<5XOH 9$5XOH

           0U3HLQRYLFKEDVHVPRVWRIKLVUHTXHVWIRUVDQFWLRQVRQDQDFFXVDWLRQWKDW0V.DSODQ

   YLRODWHGUXOHVJRYHUQLQJH[WUDMXGLFLDOVWDWHPHQWVE\FRXQVHO %U +HDOVRVXJJHVWVWKDWWKH

   &RXUWPD\LPSRVHVDQFWLRQVIRU0V.DSODQ¶VVWDWHPHQWVHYHQDSDUWIURPWKHUHTXLUHPHQWVRIWKH

   DSSOLFDEOHUXOHVRISURIHVVLRQDOFRQGXFW Id.DW 7KHVHFRQWHQWLRQVODFNPHULW1RWRQO\GLG

   0V.DSODQFRPSO\ZLWKWKHUXOHVEXWKHUFRPPHQWVDUHSURWHFWHGE\WKH)LUVW$PHQGPHQW

                            9LUJLQLD5XOH

           9LUJLQLD KDV FDWHJRULFDOO\ GHFOLQHG WR H[WHQG LWV ³WULDO SXEOLFLW\´ UXOH WR H[WUDMXGLFLDO

   VWDWHPHQWVE\DWWRUQH\VLQFLYLOPDWWHUVSee9D5XOHVRI3URI¶O&RQGXFWU D $OWKRXJK0U

   3HLQRYLFKVXJJHVWVRWKHUZLVHWKLVZDVQRWDQLQDGYHUWHQWRULOOFRQVLGHUHGRPLVVLRQ %U 7KH

   DFFRPSDQ\LQJ&RPPLWWHH&RPPHQWDU\DFNQRZOHGJHVWKDW9LUJLQLD5XOHZDVGHVLJQHGLQWKH

   VKDGRZRIHirschkop Y Snead)G WK&LU  HQEDQF See 9D5XOHVRI3URI¶O

   &RQGXFWUFRPPFPW7KHUHWKH)RXUWK&LUFXLWKHOGWKDWDSUHGHFHVVRURI9LUJLQLD5XOH

   IDFLDOO\YLRODWHGWKH)LUVW$PHQGPHQWE\LPSRVLQJRYHUEURDGUHVWULFWLRQVRQUHPDUNVE\FRXQVHO

   LQFLYLOPDWWHUVSee id.DW,WLVWKXVFOHDUWKDWWKH&RPPLWWHHGHFLGHGWKDW)LUVW$PHQGPHQW

   SULQFLSOHVSUHFOXGHUHVWULFWLQJDWWRUQH\VSHHFKLQFLYLOOLWLJDWLRQ

           7KLVGRHVQRWPHDQWKDWGHIHQGDQWVKDYHQRULJKWWRDIDLUWULDO,WVLPSO\PHDQVWKDWDQ\

   SRWHQWLDO ELDV LQ WKH MXU\ SRRO LV SURSHUO\DGGUHVVHGWKURXJKRWKHUPHDQVSee United States Y

   Lindh  ) 6XSS G   (' 9D   UHMHFWLQJ D UHTXHVW IRU GLVPLVVDO EDVHG RQ

   H[WUDMXGLFLDOVWDWHPHQWVDQGHPSKDVL]LQJWKDW³RQO\WKRVHSURVSHFWLYHMXURUVIRXQGWREHFDSDEOH




                                                      
Case 3:17-cv-00072-NKM-JCH Document 273 Filed 03/14/18 Page 14 of 24 Pageid#: 1925




   RIIDLUDQGLPSDUWLDOMXU\VHUYLFHDIWHUFDUHIXOYRLUGLUHZLOOEHGHFODUHGHOLJLEOHWRVHUYHDVMXURUV´ 

   %HFDXVH9LUJLQLD5XOHGRHVQRWDSSO\KHUH0V.DSODQSODLQO\GLGQRWYLRODWHLW

                                       1HZ<RUN5XOH

              8QOLNH9LUJLQLD1HZ<RUNKDVXQGHUWDNHQWRUHJXODWHVRPHH[WUDMXGLFLDOVWDWHPHQWVE\

   FRXQVHOLQFLYLOPDWWHUVSee1<5XOHVRI3URI¶O&RQGXFWU D %XWHYHQDVVXPLQJWKDW1HZ

   <RUN 5XOH  DSSOLHV 0V .DSODQ GLG QRW YLRODWH LW 7KUHH VHSDUDWH JURXQGV FRPSHO WKDW

   FRQFOXVLRQ

              )LUVWQRQHRI0V.DSODQ¶VVWDWHPHQWVIDOOZLWKLQWKHFRPSDVVRI1HZ<RUN5XOH E 

   ZKLFKGHPDUFDWHVWKHNLQGVRIVSHHFKWKDW1HZ<RUN5XOHH[LVWVWRDGGUHVV$VDUHVXOWWKH\

   DUHQRWSURSHUO\FRYHUHGE\WKHUXOH$QGWRWKHH[WHQWWKHUHLVDQ\GRXEWWKH&RPPHQWWR5XOH

   HPSKDVL]HVWKDWDWWRUQH\VHQMR\DEURDGHUEHUWKZKHQVSHDNLQJDERXWFLYLOPDWWHUVSee1<

   5XOHV RI 3URI¶O &RQGXFW U  FPW  ³>&@LYLO WULDOV PD\ EH OHVV VHQVLWLYH >WR H[WUDMXGLFLDO

   VSHHFK@´ 

              6HFRQG0V.DSODQ¶VVWDWHPHQWVDUHLQGHSHQGHQWO\VKLHOGHGE\WKHVDIHKDUERULQ1HZ

   <RUN 5XOH F  IRUVWDWHPHQWV GHVFULELQJ ³WKH FODLP´ DQG ³LQIRUPDWLRQ FRQWDLQHG LQ D SXEOLF

   UHFRUG´ $W WKH WLPH RI 0V .DSODQ¶V UHPDUNV WKH SXEOLF UHFRUG LQFOXGHG WKH )LUVW $PHQGHG

   &RPSODLQW DQG LQ VRPH FDVHV 3ODLQWLIIV¶ 2SSRVLWLRQ WR WKH 0RWLRQV WR 'LVPLVV  ,Q PDNLQJ

   VWDWHPHQWVWKDWGHVFULEHGDQGH[SODLQHGWKRVHILOLQJV0V.DSODQZDVFRQVLVWHQWZLWK1HZ<RUN

   5XOH F 



   
   
         7KHRQO\VXEVHFWLRQWKDWPD\DSSO\KHUHLV5XOH E  ZKLFKLGHQWLILHVVWDWHPHQWVUHODWLQJWR
   ³WKHFKDUDFWHUFUHGLELOLW\UHSXWDWLRQRUFULPLQDOUHFRUGRIDSDUW\´7KHUHLVQRSODXVLEOHEDVLVIRU
   FRQFOXGLQJWKDWDQ\RI0V.DSODQ¶VVWDWHPHQWVDGGUHVVHGWKHFUHGLELOLW\UHSXWDWLRQRUFULPLQDOUHFRUGRI
   DQ\SDUW\0U3HLQRYLFKPLJKWVHHNWRFRQWHQGWKDWDFRXSOHRIKHUVWDWHPHQWVDGGUHVVHGWKH³FKDUDFWHU´
   RI'HIHQGDQWV%XWJLYHQWKDW'HIHQGDQWVDUHRSHQDQGQRWRULRXVLQWKHLUYLHZVDERXW-HZVDQGEODFNV
   VWDWHPHQWVFRPSDULQJWKHPWRD%LEOLFDODQWL6HPLWHRUGHVFULELQJWKHPDVZKLWHVXSUHPDFLVWVFDQQRWLQIOLFW
   SUHMXGLFH


                                                              
Case 3:17-cv-00072-NKM-JCH Document 273 Filed 03/14/18 Page 15 of 24 Pageid#: 1926




           )LQDOO\0V.DSODQ¶VSXEOLFVWDWHPHQWVDFFRUGHGZLWK1HZ<RUN5XOHEHFDXVHWKH\

   GRQRW³KDYHDVXEVWDQWLDOOLNHOLKRRGRIPDWHULDOO\SUHMXGLFLQJDQDGMXGLFDWLYHSURFHHGLQJLQWKH

   PDWWHU´7KLVOLWLJDWLRQDQGWKHHYHQWVIURPZKLFKLWDULVHVKDYHDWWUDFWHGH[WUDRUGLQDU\DWWHQWLRQ

   IURPWKHORFDODQGQDWLRQDOSUHVV0V.DSODQ¶VSXEOLFVWDWHPHQWVDUHWKXV³DPHUHGURSLQWKH

   RFHDQRISXEOLFLW\VXUURXQGLQJWKLV>FDVH@´DQGDUH³QRWRIDNLQGWRVRTXDOLWDWLYHO\DOWHUSXEOLF

   NQRZOHGJHRUPRRGWKDW>VKH@VKRXOGKDYHNQRZQ>WKH\@ZRXOGFDUU\DVXEVWDQWLDOOLNHOLKRRGRI

   PDWHULDOO\SUHMXGLFLQJWKHSURFHHGLQJ´Matter of Sullivan$'G 1<$SSG

   'HS¶W see alsoGraham Y Weber1R&LY:/DW  '6'2FW

     ³(YHQLQWKHDEVHQFHRI>FRXQVHO¶V@VSHHFKHVWKHSXEOLFFRQVFLRXVQHVVZRXOGKDUGO\EH

   EHUHIWRIRWKHUPHGLDFHQWHUHGRQWKHHYHQWVVXUURXQGLQJ>WKLVFDVH@´ 

           7KDWLVHVSHFLDOO\WUXHJLYHQWKHDXGLHQFHIRU0V.DSODQ¶VVWDWHPHQWV0V.DSODQVSRNH

   WRDJDWKHULQJRITXHHUZRPHQLQ6DQ)UDQFLVFRDQGWROHDGHUVRIWKHZRPHQ¶VPRYHPHQWLQ/RV

   $QJHOHV6KHDOVRWZHHWHGWRIHZHUWKDQ7ZLWWHUIROORZHUVDQGJDYHLQWHUYLHZVWRQDWLRQDO

   QHZVSDSHUV7KHUHLVQRLQGLFDWLRQWKDWWKHVHVWDWHPHQWVKDYHVRWKRURXJKO\SHQHWUDWHGWKHMXU\

   SRRO LQ WKH :HVWHUQ 'LVWULFW RI 9LUJLQLD WKDW RUGLQDU\ PHWKRGV RI HQVXULQJ D IDLU WULDO DUH

   LQDGHTXDWHSeeJane Doe No. 1 Y Zeder1<6G 1<6XS&W  UHMHFWLQJ

   DVDQFWLRQVPRWLRQGXHWRWKHDEVHQFHRIDQ\³IDFWXDODUJXPHQWEH\RQGDPHUHFRQFOXVLRQ´WR

   HVWDEOLVK SUHMXGLFH  $QG 0U 3HLQRYLFK¶V LQDELOLW\ WR GHPRQVWUDWH D VXEVWDQWLDO OLNHOLKRRG RI

   PDWHULDO SUHMXGLFH WKXV GRRPV KLV PRWLRQ XQGHU 1HZ <RUN ODZ²DQG XQGHU 6XSUHPH &RXUW

   SUHFHGHQWSee Gentile Y State Bar of Nevada86  

                            )LUVW$PHQGPHQW

           0U3HLQRYLFK¶VPRWLRQLVIRUHFORVHGE\FRQVWLWXWLRQDOSUHFHGHQW,QHirschkop Y Snead

   WKH )RXUWK &LUFXLW FRQVLGHUHG D FKDOOHQJH WR 5XOH  RI WKH 9LUJLQLD 5XOHV RI 3URIHVVLRQDO




                                                      
Case 3:17-cv-00072-NKM-JCH Document 273 Filed 03/14/18 Page 16 of 24 Pageid#: 1927




   &RQGXFWZKLFKUHVWULFWHGODZ\HUV¶SXEOLFFRPPHQWVDERXWSHQGLQJOLWLJDWLRQSee)GDW

   $OWKRXJKHirschkop XSKHOGVRPHDSSOLFDWLRQVRIWKHUXOHLQFOXGLQJLQFULPLQDOFDVHVLWGHFODUHG

   WKH UXOH IDFLDOO\ YDJXH DQG RYHUEURDG DV DSSOLHG WR FLYLO OLWLJDWLRQ See id. DW  ,Q VR GRLQJ

   Hirschkop HPSKDVL]HG WKDW WKH JRYHUQPHQW¶V OHJLWLPDWH LQWHUHVW LQ UHVWULFWLQJ DWWRUQH\V¶ )LUVW

   $PHQGPHQW ULJKWV LV UHODWLYHO\ ZHDN LQ FLYLO FDVHV See id. ³>0@DQ\ VLJQLILFDQW GLIIHUHQFHV

   EHWZHHQFULPLQDOMXU\WULDOVDQGFLYLOFDVHVPXVWEHFRQVLGHUHGLQHYDOXDWLQJWKHFRQVWLWXWLRQDOLW\

   RI D JHQHUDO UXOH OLPLWLQJ ODZ\HUV¶VSHHFKFRQFHUQLQJFLYLOFDVHV´ 1RWLQJWKDWFLYLOFDVHV DUH

   RIWHQ³PRUHSURWUDFWHG´DQG³LQYROYHTXHVWLRQVRISXEOLFFRQFHUQ´Hirschkop HPSKDVL]HGWKDW

   ³WKHODZ\HUVLQYROYHGLQVXFKFDVHVFDQRIWHQHQOLJKWHQSXEOLFGHEDWH´DQGPXVWQRWEHIRUFHGWR

   ZDLWXQWLO³DIWHUWKHFDVHKDVFRQFOXGHG´Id.)XUWKHUHirschkop REVHUYHGWKDW³QDUURZHUPHDQV´

   WKDQDJDJRUGHUDUHDYDLODEOHWRSURWHFWWULDOVIURPDQ\ULVNRISUHMXGLFHId.

              $V WKH )RXUWK &LUFXLW KDV FRQILUPHGHirschkop UHPDLQV JRRG ODZ IROORZLQJGentile Y

   State Bar of Nevada86  ZKLFKXSKHOGVRPHUHVWULFWLRQVRQDWWRUQH\VSHHFKLQ

   FULPLQDO SURFHHGLQJV See In re Morrissey  )G   WK &LU   $QG XQGHU

   HirschkopWKHUHLVQREDVLVIRUFRQFOXGLQJWKDW0V.DSODQ¶VSXEOLFVWDWHPHQWVZHUHLPSURSHURU

   VDQFWLRQDEOH 1RU LV WKHUH DQ\ EDVLV IRU DFFHSWLQJ 0U 3HLQRYLFK¶V XQERXQGHG SULRU UHVWUDLQW

   DUJXPHQWWKDW0V.DSODQPD\QRWVSHDNWRWKHNew York TimesWRKHU7ZLWWHUIROORZHUVRUWR

   TXHHUZRPHQLQ6DQ)UDQFLVFR

                          % ,PSO\LQJ,QIOXHQFH2YHUWKH&RXUW1<5XOH H  9$5XOH G 

              2Q )HEUXDU\   Newsy SXEOLVKHG D YLGHR FOLS DERXW WKLV OLWLJDWLRQ See -DPDO

   $QGUHVV Unite the Right Rally Organizers Going to Court 1(:6< )HE   


   
   
         $FFRUGLQJWRWKH³$ERXW8V´VHFWLRQRILWVZHEVLWH³NewsyLV\RXUVRXUFHIRUKRQHVWLQGHSWK
   FRQWH[WRQVWRULHVWKDWPDWWHU:H¶UHDQDWLRQDOQHZVQHWZRUNFUHDWHGIRUSHRSOHZKRDUHQ¶WVDWLVILHGZLWK
   

                                                         
Case 3:17-cv-00072-NKM-JCH Document 273 Filed 03/14/18 Page 17 of 24 Pageid#: 1928




   KWWSVZZZ\RXWXEHFRPZDWFK"Y \1K3+9(R 7KH FOLS FRQWDLQV VHYHUDO VKRUW VWDWHPHQWV

   IURP 0V .DSODQ DERXW 3ODLQWLIIV¶ OHJDO WKHRU\ 7KH QDUUDWRU FRQFOXGHV E\ VWDWLQJ ³7KH -XGJH

   SODQVWRPHHWZLWK.DSODQDQGPDNHDGHFLVLRQRQWKHPRWLRQWRGLVPLVVWKHODZVXLWVRPHWLPHLQ

   PLG0DUFK´Id.7KDWLVFRQVLVWHQWZLWKNewsy¶VVWDQGDUGSUDFWLFHRIH[SODLQLQJZKDWLVH[SHFWHG

   WR KDSSHQ QH[W LQ WKH FDVHV WKDW LW FRYHUV See, e.g. .DWKHULQH %LHN Nassar Accuses Judge of

   Turning            Sentencing              Into     A   Media    Circus   1(:6<   -DQ         

   KWWSVZZZQHZV\FRPVWRULHVQDVVDUFRPSODLQVDERXWMXGJHLQOHWWHUUHDGDORXGLQFRXUW

       ³7KHKHDULQJPLJKWJRLQWRQH[WZHHN´ %ULDQD.RHQHPDQSupreme Court to Hear Arguments

   in Ohio Voter Purge Case 1(:6< -DQ    KWWSVZZZQHZV\FRPVWRULHVVXSUHPH

   FRXUWWRKHDUDUJXPHQWVLQRKLRYRWHUSXUJHFDVH ³7KHFRXUW¶VUXOLQJLVH[SHFWHGLQODWH-XQH´ 

   *UDQW6XQHVRQLawsuit Over Detainee Mistreatment After 9/11 Reaches Supreme Court1(:6<

       -DQ    KWWSVZZZQHZV\FRPVWRULHVSRVWGHWDLQHHWUHDWPHQWODZVXLWUHDFKHV

   VXSUHPHFRXUW ³$UXOLQJRQWKHFDVHLVH[SHFWHGZLWKLQWKHQH[WVL[PRQWKV´ 

               $FFRUGLQJWR0U3HLQRYLFKWKLVVWDWHPHQWVXJJHVWVDYLRODWLRQRI1HZ<RUN5XOH H 

   DQG9LUJLQLD5XOH G E\LPSO\LQJWKDW0V.DSODQLVFDSDEOHRILPSURSHUO\LQIOXHQFLQJWKH

   &RXUW See%U 7KDWLVLQFRUUHFW7KHUHOHYDQWVWDWHPHQWZDVPDGHE\0U$QGUHVVQRW

   0V.DSODQDQGIRUWKDWUHDVRQDORQHLWFDQQRWEHGHHPHGDYLRODWLRQRIWKHUXOHV)XUWKHUQR

   UHDVRQDEOH SHUVRQ ZRXOG LQWHUSUHW WKH FOLS LWVHOI RU WKH IDFW WKDW 0V .DSODQ UHWZHHWHG LW DV

   VXJJHVWLQJ WKDW 0V .DSODQ HQMR\V VSHFLDO DFFHVV WR WKH &RXUW 5DWKHU DQ\ UHDVRQDEOH OLVWHQHU

   ZRXOGLQIHUWKDW0U$QGUHVV²DMRXUQDOLVW²ZDVUHSRUWLQJSXEOLFO\DYDLODEOHLQIRUPDWLRQDERXW

   WKH&RXUW¶VVFKHGXOH7KLVVRUWRILQIRUPDWLRQLVFXVWRPDULO\SRVWHGRQSXEOLFO\DYDLODEOHGRFNHWV



   
   JHWWLQJRQO\WKHORXGHVWSDUWRIWKHVWRU\´SeeAbout Newsy1(:6<KWWSVZZZQHZV\FRPDERXW ODVW
   YLVLWHG0DU 


                                                              
Case 3:17-cv-00072-NKM-JCH Document 273 Filed 03/14/18 Page 18 of 24 Pageid#: 1929




   DQGLVIUHTXHQWO\LQFOXGHGLQSUHVVUHSRUWV7KHUHLVVLPSO\QREDVLVIRU0U3HLQRYLFK¶VDVVHUWLRQ

   WKDWWKLVUXQRIWKHPLOOVFKHGXOLQJXSGDWHE\0U$QGUHVVZDVSDUWRIDQHODERUDWHVFKHPHE\0V

   .DSODQWRFRQYLQFHWKHZRUOGWKDWVKHKDVVHFUHWLQIOXHQFHRYHUWKH&RXUW RUZRXOGPHHWZLWKLW

   DORQH 

                           & /DZ\HUDV)DFW:LWQHVV1<5XOH 9$5XOH

               ,QVHYHUDORIKHUSXEOLFVWDWHPHQWV0V.DSODQKDVGLVFXVVHGWKHEDFNJURXQGIDFWVOHJDO

   WKHRU\DQGUHOLHIVRXJKWLQWKLVOLWLJDWLRQ0U3HLQRYLFKFRQWHQGVWKDWVKHKDVWKHUHE\EHFRPHD

   IDFWZLWQHVVVLQFH³WKHSODLQWLIIV¶FRPSODLQWLVDQLPSURSHUO\PRWLYDWHG6/$33VXLWPDNLQJWKH

   PRWLYDWLRQVRIWKHSODLQWLIIVDQGDWWRUQH\VLQILOLQJLWDOLYHLVVXH´ %U 2QWKDWEDVLVKHDVNV

   WKH&RXUWWRVDQFWLRQ0V.DSODQIRUYLRODWLQJ1HZ<RUNDQG9LUJLQLD5XOHV

               7KLV DUJXPHQW LV PHULWOHVV $V DQ LQLWLDO PDWWHU 'HIHQGDQWV KDYH QRW DVVHUWHG DQ DQWL

   6/$33GHIHQVHWRWKH)LUVW$PHQGHG&RPSODLQW1RUFRXOGWKH\%\LWVSODLQWHUPV9LUJLQLD¶V

   QDUURZDQWL6/$33VWDWXWHGRHVQRWDSSO\WRDQ\RIWKHLUVWDWHPHQWVSee9D&RGH$QQ

    $   $QGHYHQLILWGLGWKHVWDWXWHDIIRUGVDGHIHQVHRQO\ZKHUHDSODLQWLIIKDVDOOHJHG

   WRUWLRXVLQWHUIHUHQFHGHIDPDWLRQRUYLRODWLRQVRI9LUJLQLD&RGHId.%HFDXVH3ODLQWLIIV

   KDYHQRWDOOHJHGDQ\VXFKFODLPVWKHUHLVQRFRORUDEOHEDVLVIRUWUHDWLQJ9LUJLQLD¶VDQWL6/$33

   VWDWXWHDVUHOHYDQWWRWKLVOLWLJDWLRQ0U3HLQRYLFK¶VFRQWHQWLRQVUHODWLQJWR5XOHPXVWWKHUHIRUH

   EHUHMHFWHG,QDOOHYHQWVWKHVHVWDWHPHQWVE\0V.DSODQLQQRZD\UHQGHUKHUDZLWQHVVLQWKH

   FDVH  2WKHUZLVH DQ\ DWWRUQH\ ZKR VSHDNV SXEOLFO\ DERXW KHU ODZVXLW ZRXOG EH LPPHGLDWHO\

   GLVTXDOLILHG

   
   
          0U3HLQRYLFKIXUWKHUHUUVLQSUHVXPLQJWKDWDQWL6/$33VWDWXWHVWXUQSODLQWLIIV¶ODZ\HUVLQWRIDFW
   ZLWQHVVHV,QJHQHUDODQWL6/$33VWDWXWHVFUHDWHDQH[SHGLWHGDGMXGLFDWLRQSURFHGXUHDWWKHYHU\RXWVHWRI
   OLWLJDWLRQWRHQVXUHWKDWYDOXDEOHVSHHFKLVQRWFKLOOHGE\XQPHULWRULRXVODZVXLWV7RWKDWHQGDQWL6/$33
   VWDWXWHVW\SLFDOO\UHTXLUHRQO\WKDWWKHSODLQWLIIPDNHDSUHOLPLQDU\IDFWXDOVKRZLQJWKDWKHUFDVHKDVVRPH
   PHULW$QWL6/$33VWDWXWHVGRQRWUHTXLUHWKDWWKHSODLQWLIIVDQGWKHLUODZ\HUVJLYHWHVWLPRQ\DERXWWKHLU
   UHDVRQVIRUILOLQJVXLW


                                                          
Case 3:17-cv-00072-NKM-JCH Document 273 Filed 03/14/18 Page 19 of 24 Pageid#: 1930




               0U3HLQRYLFKKDVUHSHDWHGO\DVVHUWHGWKDWKHYLHZVWKLVODZVXLWDVQRWKLQJPRUHWKDQD

   VWUDWHJLFHIIRUWE\-HZVDQGOHVELDQVWRKDUDVV'HIHQGDQWVIRUWKHLU³HGJ\MRNHV´See 3HLQRYLFK

   0RWLRQWR'LVPLVV(&)1RDW+HDOVRDSSHDUVWREHOLHYHWKDWKHLVHQWLWOHGWRILVKIRU

   SURRIRIWKDWWKHRU\E\GHSRVLQJ0V.DSODQ7KHVHDVVXPSWLRQVDUHVKRWWKURXJKKLVVDQFWLRQV

   PRWLRQ$QGOLNHWKHUHVWRIKLVDUJXPHQWVWKH\DUHERWKSURIRXQGO\PLVWDNHQ

               ,,   05 3(,129,&+ &20(6 12:+(5( &/26( 72 3529,1* 7+$7
                      ',60,66$/25$*$*25'(5$5(:$55$17('
                      
               $VDUHPHG\IRU0V.DSODQ¶VDOOHJHGLPSURSHUFRQGXFW0U3HLQRYLFKVHHNVGLVPLVVDORI

   WKLVODZVXLWRUDVZHHSLQJJDJRUGHUDJDLQVW0V.DSODQDQGKHUODZILUP7KHVHUHTXHVWVVKRXOG

   EHUHMHFWHGIRUWKHVLPSOHUHDVRQWKDW0V.DSODQGLGQRWKLQJZURQJ%XWHYHQLIWKH&RXUWKDG

   TXHVWLRQV RU FRQFHUQV DERXW 0V .DSODQ¶V FRQGXFW WKH UHPHGLHV WKDW 0U 3HLQRYLFK VHHNV DUH

   LQDSSURSULDWHDQGGLVSURSRUWLRQDWHSee, e.g.In re Jemsek Clinic, P.A.)G WK&LU

     ³(YHQZKHQDFRXUWSURSHUO\FRQFOXGHVWKDWVDQFWLRQVDUHZDUUDQWHGLWDEXVHVLWVGLVFUHWLRQ

   ZKHQLWLPSRVHVVDQFWLRQVGLVSURSRUWLRQDWHWRWKHVHYHULW\RIDSDUW\¶VPLVFRQGXFW´ 

               $ 'LVPLVVDORIWKH)LUVW$PHQGHG&RPSODLQW

               ³%HFDXVH>WKH&RXUW¶V@LQKHUHQWSRZHULVQRWUHJXODWHGE\&RQJUHVVRUWKHSHRSOHDQGLV

   SDUWLFXODUO\VXEMHFWWRDEXVHLWPXVWEHH[HUFLVHGZLWKWKHJUHDWHVWUHVWUDLQWDQGFDXWLRQDQGWKHQ

   RQO\WRWKHH[WHQWQHFHVVDU\´United States Y Shaffer Equip. Co.)G WK&LU 

   ³0LQGIXO RI WKH VWURQJ SROLF\ WKDW FDVHV EH GHFLGHG RQ WKH PHULWV DQG WKDW GLVPLVVDO ZLWKRXW

   GHFLGLQJWKHPHULWVLVWKHPRVWH[WUHPHVDQFWLRQ´WKH)RXUWK&LUFXLWKDVLGHQWLILHGVL[IDFWRUVWKDW

   DFRXUWPXVWFRQVLGHUEHIRUHGLVPLVVLQJRQWKHEDVLVRIPLVFRQGXFW



   
   
          0U 3HLQRYLFK GRHV QRW FRQWHQG WKDW 0V .DSODQ ZDLYHG DWWRUQH\FOLHQW SULYLOHJH LQ DQ\ RI KHU
   SXEOLF VWDWHPHQWV 1RU FRXOG KH 1RQH RI KHU VWDWHPHQWV GLVFORVHG DQ\ LQIRUPDWLRQ RU FRPPXQLFDWLRQV
   VKLHOGHGE\WKHSULYLOHJH


                                                          
Case 3:17-cv-00072-NKM-JCH Document 273 Filed 03/14/18 Page 20 of 24 Pageid#: 1931




                     WKHGHJUHHRIWKHZURQJGRHU¶VFXOSDELOLW\  WKHH[WHQWRIWKH
                  FOLHQW¶VEODPHZRUWKLQHVVLIWKHZURQJIXOFRQGXFWLVFRPPLWWHGE\
                  LWV DWWRUQH\ UHFRJQL]LQJ WKDW ZH VHOGRP GLVPLVV FODLPV DJDLQVW
                  EODPHOHVVFOLHQWV  WKHSUHMXGLFHWRWKHMXGLFLDOSURFHVVDQGWKH
                  DGPLQLVWUDWLRQ RI MXVWLFH   WKH SUHMXGLFH WR WKH YLFWLP   WKH
                  DYDLODELOLW\ RI RWKHU VDQFWLRQV WR UHFWLI\ WKH ZURQJ E\ SXQLVKLQJ
                  FXOSDEOH SHUVRQV FRPSHQVDWLQJ KDUPHG SHUVRQV DQGGHWHUULQJ
                  VLPLODUFRQGXFWLQWKHIXWXUHDQG  WKHSXEOLFLQWHUHVW
                  
   Id.DW+HUH0U3HLQRYLFKKDVQRWDWWHPSWHGWRVKRZ²DQGFRXOGQRWVKRZ²WKDWanyRI

   WKHVHIDFWRUVVXSSRUWVGLVPLVVDOOHWDORQHWKDWPRVWRIWKHPGRVR7KXVHYHQLIKLVDOOHJDWLRQVRI

   LPSURSULHW\KDGDQ\PHULW ZKLFKWKH\GRQRW GLVPLVVDOZRXOGQRWEHDQDSSURSULDWHUHPHG\

           % $*DJ2UGHU

           &LWLQJRQO\)HGHUDO5XOHRI&LYLO3URFHGXUH³ F 3 ´0U3HLQRYLFKDVNVWKLV&RXUWWR

   LPSRVHDJDJRUGHUWKDWZRXOGSURKLELW0V.DSODQIURPVSHDNLQJWR³VRFLDOPHGLDDQGSULQWDQG

   WHOHYLVLRQPHGLD´ %U %XW5XOH F  3 GRHVQRWDXWKRUL]HVXFKUHOLHI,QVWHDGLWSURYLGHV

   WKDWDWSUHWULDOFRQIHUHQFHV³WKHFRXUWPD\FRQVLGHUDQGWDNHDSSURSULDWHDFWLRQ>WRIDFLOLWDWH@

   LQRWKHUZD\VWKHMXVWVSHHG\DQGLQH[SHQVLYHGLVSRVLWLRQRIWKHDFWLRQ´:HDUHDZDUHRIQRFDVH

   KROGLQJWKDWWKLVSURYLVLRQHPSRZHUVFRXUWVWRSURKLELWSXEOLFVWDWHPHQWVE\FRXQVHO

           ,QDQ\HYHQWWKH)RXUWK&LUFXLWKDVGHPRQVWUDWHGWKDWLWORRNVZLWKJUDYHGRXEWRQHIIRUWV

   WRFHQVRUVSHHFKE\FRXQVHOLQFLYLOPDWWHUVSeeHirschkop)GDW$VRWKHUFRXUWVKDYH

   DFNQRZOHGJHGLQWKLVFRQWH[W³SULRUUHVWUDLQWVDUHWKHPRVWGUDVWLFEXWQRWQHFHVVDULO\WKHPRVW

   HIIHFWLYHMXGLFLDOWRROIRUHQIRUFLQJWKHULJKWWRDIDLUWULDO´Bailey Y Sys. Innovation, Inc.

   )G G&LU 7KXV³>L@IDQ\PHWKRGRWKHUWKDQDSULRUUHVWUDLQWFDQHIIHFWLYHO\

   EH HPSOR\HG WR IXUWKHU WKH >WKUHDWHQHG@ JRYHUQPHQWDO RU SULYDWH LQWHUHVW    WKHQ WKH RUGHU LV

   LQYDOLG´Id.DWsee also id.DW LGHQWLI\LQJ³FDUHIXOvoir direRISURVSHFWLYHMXURUV´DQG

   ³HPSKDWLFMXU\LQVWUXFWLRQV´DVDOWHUQDWLYHVWKDWPXVWUHFHLYHFDUHIXOFRQVLGHUDWLRQ 




                                                        
Case 3:17-cv-00072-NKM-JCH Document 273 Filed 03/14/18 Page 21 of 24 Pageid#: 1932




             0U 3HLQRYLFK KDV QRWGHPRQVWUDWHG WKDW DQ\ RI 0V .DSODQ¶V SXEOLF VWDWHPHQWV SRVH D

   VXEVWDQWLDOULVNRIPDWHULDOO\SUHMXGLFLQJWKHMXU\SRROLQWKH:HVWHUQ'LVWULFWRI9LUJLQLD$QG

   HYHQLIVXFKDVWDWHPHQWKDGEHHQPDGH ZKLFKLWKDVQRWEHHQ WKDWZRXOGQRWMXVWLI\DVZHHSLQJ

   JDJRUGHURQ0V.DSODQDQGKHUODZILUP,QVWHDGLWZRXOGWULJJHUDQLQTXLU\LQWRZKHWKHUDQ\

   DOWHUQDWLYHPHWKRGRIVROYLQJWKHSUREOHPLVVXIILFLHQW+HUHDQ\FRQFHLYDEOHSUHMXGLFHUHVXOWLQJ

   IURP 0V .DSODQ¶V VWDWHPHQWV FDQ EH FXUHG WKURXJK WKH voir dire SURFHVV $FFRUGLQJO\

   0U3HLQRYLFK¶VSURSRVHGJDJRUGHULVERWKXQMXVWLILHGDQGXQFRQVWLWXWLRQDO

                                                 &21&/86,21

            )RUWKHIRUHJRLQJUHDVRQV'HIHQGDQW3HLQRYLFK¶VPRWLRQIRUVDQFWLRQVVKRXOGEHGHQLHG

   

   'DWHG0DUFK                       5HVSHFWIXOO\VXEPLWWHG

                                                         s/ Robert T. Cahill
       5REHUWD$.DSODQ pro hac vice                   5REHUW7&DKLOO 96% 
       -XOLH()LQN pro hac vice                       &22/(<//3
       &KULVWRSKHU%*UHHQH pro hac vice               )UHHGRP'ULYHWK)ORRU
       6HJXLQ/6WURKPHLHU pro hac vice                5HVWRQ9$
       .$3/$1 &203$1<//3                             7HOHSKRQH  
       )LIWK$YHQXH6XLWH                      )D[  
       1HZ<RUN1<                                UFDKLOO#FRROH\FRP
       7HOHSKRQH                           
       UNDSODQ#NDSODQDQGFRPSDQ\FRP
       MILQN#NDSODQDQGFRPSDQ\FRP
       FJUHHQH#NDSODQDQGFRPSDQ\FRP
       VVWURKPHLHU#NDSODQDQGFRPSDQ\FRP
       
                                                         
                                                         
                                                         
                                                         
                                                         
                                                         
                                                         
                                                         
                                                         
                                                         



                                                      
Case 3:17-cv-00072-NKM-JCH Document 273 Filed 03/14/18 Page 22 of 24 Pageid#: 1933




       3KLOLS0%RZPDQ pro hac vice             .DUHQ/'XQQ pro hac vice 
       <RWDP%DUNDL SURKDFYLFH                 :LOOLDP$,VDDFVRQ pro hac vice 
       -RVKXD-/LEOLQJ pro hac vice            %2,(66&+,//(5)/(;1(5//3
       %2,(66&+,//(5)/(;1(5//3                 1HZ<RUN$YH1:
       /H[LQJWRQ$YH                         :DVKLQJWRQ'&
       1HZ<RUN1<                         7HOHSKRQH  
       7HOHSKRQH                    )D[  
       )D[                          NGXQQ#EVIOOSFRP
       SERZPDQ#EVIOOSFRP                         ZLVDDFVRQ#EVIOOSFRP
       \EDUNDL#EVIOOSFRP                         
       MOLEOLQJ#EVIOOSFRP
       
       $ODQ/HYLQH pro hac vice                  'DYLG(0LOOV pro hac vice 
       &22/(<//3                                 &22/(<//3
       $YHQXHRIWKH$PHULFDVWK)ORRU    3HQQV\OYDQLD$YHQXH1:
       1HZ<RUN1<                        6XLWH
       7HOHSKRQH                    :DVKLQJWRQ'&
       )D[                          7HOHSKRQH  
       DOHYLQH#FRROH\FRP                         )D[  
                                                  GPLOOV#FRROH\FRP
   




                                                 
Case 3:17-cv-00072-NKM-JCH Document 273 Filed 03/14/18 Page 23 of 24 Pageid#: 1934




                                   &(57,),&$7(2)6(59,&(
           
           ,KHUHE\FHUWLI\WKDWRQ0DUFK,ILOHGWKHIRUHJRLQJZLWKWKH&OHUNRI&RXUW
   WKURXJKWKH&0(&)V\VWHPZKLFKZLOOVHQGDQRWLFHRIHOHFWURQLFILOLQJWR
           
   -XVWLQ6DXQGHUV*UDYDWW
   'DYLG/+DXFN
   'DYLG/&DPSEHOO
   'XDQH+DXFN'DYLV *UDYDWW3&
   :HVW)UDQNOLQ6WUHHW6XLWH
   5LFKPRQG9$
   MJUDYDWW#GKGJODZFRP
   GKDXFN#GKGJODZFRP
   GFDPSEHOO#GKGJODZFRP
   
   Counsel for Defendant James A. Fields, Jr.
           
   %U\DQ-RQHV
   :6RXWK6W6XLWH
   &KDUORWWHVYLOOH9$
   EU\DQ#EMRQHVOHJDOFRP
           
   Counsel for Defendants Michael Hill, Michael Tubbs, and League of the South
   
   (OPHU:RRGDUG
   86+Z\
   %ODLUV9$
   LVXHFURRNV#FRPFDVWQHW
   
   -DPHV(.ROHQLFK
   .ROHQLFK/DZ2IILFH
   :DWHUVWRQH%OYG
   &LQFLQQDWL2+
   MHN#JPDLOFRP
   
   Counsel for Defendants Jeff Schoep, Nationalist Front, National Socialist Movement, Matthew
   Parrott, Matthew Heimbach, Robert Ray, Traditionalist Worker Party, Elliot Kline, Jason
   Kessler, Vanguard America, Nathan Damigo, Identity Europa, Inc. (Identity Evropa), and
   Christopher Cantwell
   
   0LFKDHO3HLQRYLFK
   DND0LFKDHO³(QRFK´3HLQRYLFK
   32%R[
   +RSHZHOO-XQFWLRQ1<
   
   Pro Se Defendant
   
Case 3:17-cv-00072-NKM-JCH Document 273 Filed 03/14/18 Page 24 of 24 Pageid#: 1935




           ,IXUWKHUKHUHE\FHUWLI\WKDWRQ0DUFK,ZLOOVHUYHWKHIROORZLQJQRQ(&)
   SDUWLFLSDQWVYLD86PDLO)LUVW&ODVVDQGSRVWDJHSUHSDLGDGGUHVVHGDVIROORZV
   
   /R\DO:KLWH.QLJKWVRIWKH.X.OX[.ODQ              $QGUHZ$QJOLQ
   DND/R\DO:KLWH.QLJKWV&KXUFKRI                 32%R[
   WKH,QYLVLEOH(PSLUH,QF                           :RUWKLQJWRQ2+
   FR&KULVDQG$PDQGD%DUNHU                          
   32%R[                                          (DVW&RDVW.QLJKWVRIWKH.X.OX[.ODQ
   3HOKDP1&                                     DND(DVW&RDVW.QLJKWVRIWKH
                                                        7UXH,QYLVLEOH(PSLUH
   5LFKDUG6SHQFHU                                     6RXWK3LQH6W
   $.LQJ6WUHHW                                   5HG/LRQ3$
   $OH[DQGULD9$                                 
   DQG                                                )UDWHUQDO2UGHURIWKH$OW.QLJKWV
   32%R[                                        FR.\OH&KDSPDQ
   :KLWHILVK07                                  /\FHWW&LUFOH
                                                        'DO\&LW\&$
   0RRQEDVH+ROGLQJV//&
   FR$QGUHZ$QJOLQ                                    $XJXVWXV6RO,QYLFWXV
   32%R[                                         WK$YHQXH
   :RUWKLQJWRQ2+                                2UODQGR)/
   
   
   

                                                       s/ Robert T. Cahill
                                                       5REHUW7&DKLOO 96% 
                                                       &22/(<//3
                                                       )UHHGRP'ULYHWK)ORRU
                                                       5HVWRQ9$
                                                       7HOHSKRQH  
                                                       )D[  
                                                       (PDLOUFDKLOO#FRROH\FRP

                                                       Counsel for Plaintiffs

   




                                                  
